Case 18-62548-lrc   Doc 9   Filed 08/10/18 Entered 08/10/18 12:48:41   Desc Main
                            Document      Page 1 of 10
Case 18-62548-lrc   Doc 9   Filed 08/10/18 Entered 08/10/18 12:48:41   Desc Main
                            Document      Page 2 of 10
Case 18-62548-lrc   Doc 9   Filed 08/10/18 Entered 08/10/18 12:48:41   Desc Main
                            Document      Page 3 of 10
Case 18-62548-lrc   Doc 9   Filed 08/10/18 Entered 08/10/18 12:48:41   Desc Main
                            Document      Page 4 of 10
Case 18-62548-lrc   Doc 9   Filed 08/10/18 Entered 08/10/18 12:48:41   Desc Main
                            Document      Page 5 of 10
Case 18-62548-lrc   Doc 9   Filed 08/10/18 Entered 08/10/18 12:48:41   Desc Main
                            Document      Page 6 of 10
Case 18-62548-lrc   Doc 9   Filed 08/10/18 Entered 08/10/18 12:48:41   Desc Main
                            Document      Page 7 of 10
Case 18-62548-lrc   Doc 9   Filed 08/10/18 Entered 08/10/18 12:48:41   Desc Main
                            Document      Page 8 of 10
Case 18-62548-lrc   Doc 9   Filed 08/10/18 Entered 08/10/18 12:48:41   Desc Main
                            Document      Page 9 of 10
Case 18-62548-lrc   Doc 9   Filed 08/10/18 Entered 08/10/18 12:48:41   Desc Main
                            Document      Page 10 of 10
